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GARY BRlCKWO()D (SBN 94892)
BRlCKWOOD l,AW OFFlCE

1135 Pine St., Suitc 210

Redding, CA 9()()01

Tel (53()) 245-1877

Fax (530) 245-1879

Attorneys for Dcfendants
ANDREA L. SILVER MERR|LL
and RICHARD WALTON MERRILL

IN THE UNITED STATES DIS'I`RlCT COURT
FOR THE EASTERN DlSTRlCT OF CALIFORNIA

DII\/IAS ()’CAl\/IPO, ) Case No.: 2:16-cv-01769-JA1\/1 CMK

)
Plaintiff`, )
) DEFENDANTS ANDREA L. SILVER
vs. ) MERR!LL AND RICHARD WALTON

) MERRILL’S FlRST AMENDED

STEVE [)E Cl,ERCK ENTERPRISES, ) ANSWER TO PLAlNTlFF’S

INC. dba TACO BELL #021286; ) COMPLAINT AND CROSS-CLAIM

ANDREA L. SILVER aka ANDREA
L. SILVER MERRILL, SUCCESS()R
'I`RUS'I`EE of the LUCILLE F.
MORGAN IRREVOCABLE LIVlNG
'I`RUST NUl\/IBER TWO; RICHARD
WALTON MERRILL,

Defendants.

 

ANDREA L. SlLVER aka ANDREA L.
SILVER MERR[LL, SUCCESSOR TRUSTEE
Ofthe LUCILLE F. MORGAN
IRREVOCABLE LIVING TRUST NUI\/IBER
TWO; RICHARD WAl.,TON MERRILL,

Cross-Claimants`
vs.

C&K l\/IARKE'I`S, lNC., dba RAY`S 1'*`()()D
PI.ACE; AND ROES 1 through 1(),

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Cross-Def`emizmts.

 

 

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Defendants RlCHARD WALTON MERRILL (“R. l\/lcrrill") and ANDREA L. SILVER
aka ANDREA L. SILVER MERRILL, SUCCESSOR TRUSTEE ofthe LUCILLE F. l\/lORGAN
lRREVO(_`ABLE LlVlNG 'l`RUST NUl\/IBER TWO (“A. Merrill”) (collectively “Defendants”)
request a jury trial.

Det"endants answer Plaintit`t`s Complaint and allege as follows:

I. SUlVllVlARY

l. Defendants admit that this lawsuit alleges discrimination against Plaintiff Dimas
O’Campo at 'l`aco Bcll #021286, located at 301 West Lakc Street l\/lt. Shasta, CA 96067.
Defendants deny that Plaintiffwas discriminated against.

2. Defendants admit that Plaintiff seeks damagcs, injunctive and declaratory relief,
attorney fees and costs pursuant to the Amcricans With Disabilities Act of 1990 and related
California statutes. Defendants deny that Plaintiff is entitled to the relief sought.

ll. JURlSDlCTI()N

3. Defendants admit that this Court has jurisdiction of ADA claims under 28 U.S.C. §
1331 and 1343. Defendants deny that they have violated Plaintift`s rights under federal or state
law.

4. Dcfendants admit that Plaintit`f seeks to invoke supplemental jurisdiction over
California state law claims. Defendants admit that this Court may invoke supplemental
jurisdiction for claims brought under state law arising from the same nucleus of operative facts
pursuant to 28 U.S.C. § 1367. Defendants deny that they have violated Plaintift`s rights under
federal or state law.

5. Defendants lack sufficient information or belief to admit or deny the allegations of
Paragraph 5 and on that ground, deny the allegations

III.VENUE

(). Dcfendants lack sufficient information or belief to admit or deny thc allegations of
Paragraph () and on that ground, deny the allegations
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IV. PARTIES

7. Defendants deny the allegations of Paragraph 7.

8. Defendants lack sufficient information or belief to admit or deny the allegations of
Paragraph 8 and on that ground, deny the allegations To the extent that Paragraph 8 states a legal
conclusion regarding Plaintiffs status as “physically disabled” under applicable California and
United States laws, no answer is required.

V. FACTS

9. Defendants lack sufficient information or belief to admit or deny the allegations of
Paragraph 9 and on that ground, deny the allegations

10. Defendants lack sufficient information or belief to admit or deny the allegations of
Paragraph 10 and on that ground, deny the allegations

ll. Defendants lack sufficient information or belief to admit or deny the allegations of
Paragraph 11 and on that ground, deny the allegations

12. Defendants lack sufficient information or belief to admit 0r deny the allegations of
Paragraph 12 and on that ground, deny the allegations

13. Defendants deny the allegations of Paragraph 13.

14. Defendants deny the allegations of Paragraph 14.

VI. FIRST CLAIM
Americans with Disabilities Act of 1990
Denial of “Full and Equal” Eniovment and Use

15. Defendants incorporate by reference each and every response contained in the
foregoing paragraphs

16. Paragraph 16 contains a statement of law which Defendants neither admit nor deny.

17. Defendants deny the allegations of Paragraph 17.

Failure to Remove Architectural Barriers in an Existing Facilitv

 

18. Paragraph 18 contains a statement of law which Defendants neither admit nor deny.
19. Paragraph 19 contains a statement of law which Defendants neither admit nor deny.

20. Defendants deny the allegations of Paragraph 20.

 

lDEFENDANTS ANDREA L. SILVER MERRILL AND RICHARD WALTON MERRILL’S FIRST AMENDED¢ _
ANSWER TO PLAINTIFF’S COMPLAINT AND CROSS-CLAIM
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21. Defendants deny the allegations of Paragraph 21.
Failure to Design and Construct an Accessible Facility

22. Defendants lack sufficient information or belief to admit or deny the allegations in
Paragraph 22 and, on that ground deny the allegations

23. Paragraph 23 contains a statement of law which Defendants neither admit nor deny.

24. Defendants deny the allegations of Paragraph 24.

Failure to l\/lake an Altered Facility Accessible

25. Defendants lack sufficient information or belief to admit or deny the allegations in
Paragraph 25 and, on that ground deny the allegations

26. Paragraph 26 contains a statement of law which Defendants neither admit nor deny.

27. Defendants deny the allegations of Paragraph 27.

Failure to Modifv Existing Policies and Procedures

28. Paragraph 28 contains a Statement of law which Defendants neither admit nor deny.

29. Defendants deny the allegations of Paragraph 29.

30. Defendants admit that Plaintiff seeks all relief available under the ADA. Defendants
deny that Plaintiff is entitled to the relief sought

31. Defendants admit that Plaintiff seeks declaratory relief in order to pursue damages
under California state law. Defendants deny that Plaintiff is entitled to the relief sought.

VII. SECOND CLAIM
Disabled Persons Act

32. Defendants incorporate by reference each and every response contained in the
foregoing paragraphs

33. Paragraph 33 contains a statement of law which Defendants neither admit nor deny.

34. Paragraph 34 contains a statement of law which Defendants neither admit nor deny.

35. Paragraph 35 contains a statement of law which Defendants neither admit nor deny.

36. Defendants deny the allegations of Paragraph 36.
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lDEFEI\JDANTS ANDREA L. SILVER MERRILL AND RiCHAi{DwALToN MERRILL’S, FiRsT AMENDED
ANSWER To PLAINTIFF’s COMPLAINT AND CRoss-CLAIM
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37. Defendants admit that Plaintiff seeks actual damages statutory minimum damages,
declaratory relief, and any other remedy available under California Civil Code § 54.3 Defendants
deny that Plaintiff is entitled to the relief sought.

3 8. Defendants admit that Plaintiff seeks to enjoin Defendants from violating the Disabled
Persons Act and to recover reasonable attorneys’ fees Defendants deny that Plaintiff is entitled
to the relief sought

VIII. THIRD CLAIM
Unruh Civil Rights Act

39. Defendants incorporate by reference each and every response contained in the
foregoing paragraphs

40. Paragraph 40 contains a statement of law which Defendants neither admit nor deny.

41. Paragraph 41 contains a statement of law which Defendants neither admit nor deny.

42. Paragraph 42 contains a statement of law which Defendants neither admit nor deny.

43. Defendants deny the allegations of Paragraph 43.

44. Defendants deny the allegations of Paragraph 44.

45. Defendants admit that Plaintiff seeks statutory minimum damages Defendants deny
the remaining allegations of Paragraph 45 and deny that Plaintiff is entitled to the relief sought.

46. Defendants admit that Plaintiff seeks to enjoin Defendants from violating the Unruh
Act and to recover reasonable attorneys’ fees and costs Defendants deny that Plaintiff is entitled
to the relief sought

IX. FOURTH CLAIM
Denial of Full and Equal Access to Public Facilities

47. Defendants incorporate by reference each and every response contained in the
foregoing paragraphs

48. Paragraph 48 contains a statement of law which Defendants neither admit nor deny.

49. Paragraph 49 contains a statement of law which Defendants neither admit nor deny.

50. Defendants lack sufficient information 0r belief to admit or deny the allegations in

Paragraph 50 and, on that ground deny the allegations

 

 

HEFENDANTS ANDREA L. siLvER MERRILL AND RICHARD wAL'roN MERRILL’$ FIRST AMENDED
ANSWER 10 PLAINTIFF’s CoMPLAn\iT AND CRoss-CLAIM
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1 51. Defendants admit that Plaintiff seeks injunctive relief and to recover reasonable

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attorneys’ fees and costs Defendants deny the remaining allegations of Paragraph 51 and deny

3 that Plaintiffis entitled to the relief sought.

 

4 AFFIRMATIVE DEFENSES
5 FlRST AFFIRMATlVE DEFENSE
6 1. Defendants allege the Complaint fails to state a cause of action against these

7 answering Defendants

8 SECOND AFFIRMATIVE DEFENSE

9 2. Defendants allege 011 information and belief that Plaintiff`s claims for relief are barred
10 because Defendants do not maintain possession or control of the “building, structure, facility,
1 1 complex, property, land, development, and/or surrounding business complex” referred to as “the
12 Restaurant” in Paragraph 1 of Plaintiffs Complaint (hereinafter “the Restaurant” or “the subject

13 property").

14 THIRD AFFIRMAT|VE DEFENSE

15 3. Defendants allege Plaintiff lacks standing

16 FOURTH AFFlRMATlVE DEFENSE

17 4. Defendants allege Plaintiff is barred from seeking relief by the doctrine of unclean
18 hands

19 FIFTH AFFIRMATIVE l)EFENSE

20 5. Defendants allege on information and belief that Plaintiff s Complaint is barred by the

21 statute of limitations
22 SIXTH AFFlRl\/lATlVE DEFENSE
23 6. Defendants allege Plaintiff is estopped by his own conduct to claim any right to

24 damages or any reliefagainst these answering Defendants

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SEVENTH AFFIRMAT|VE DEFENSE
7. Defendants allege that the Complaint, including each claim for relief alleged therein,
and the alleged conduct underlying the claims was caused or contributed to by other persons and
entities and damages against these answering Defendants and damages if any, Should be reduced
in direct proportion to their fault.
EIGHTH AFFIRMATIVE DEFENSE
8. Defendants allege that to the extent Plaintiffsuffered any detriment, such detriment was
caused or contributed to by Plaintift`s own negligence and damages if any, Should be reduced in
direct proportion to his fault.
NlN'l`H AFFIRMAT|VE DEFENSE
9. Defendants allege on information and belief that Plaintiff failed to take all reasonable
steps necessary to mitigate, limit, minimize or avoid damages he alleges to have suffered as the
result of Defendants alleged conduct.
TENTH AFFIRMATIVE DEFENSE
10. Defendants allege on information and belief that the Restaurant was designed,
constructed and first occupied prior to January 26, 1993.
ELEVENTH AFFIRMATIVE DEFENSE
1 1. Defendants allege, without admitting that Plaintiff has sustained any injury or damage,
that the puiported acts or omissions of these answering Defendants were not the proximate cause
of any injury or damage to Plaintiff.
TWELFTH AFFIRMATIVE l)EFENSE
12. Defendants allege on information and belief that Plaintif`f`s claims are barred for
failure to join necessary or indispensable parties
THlRTEENTH AFFlRl\/lATlVE DEFENSE
13. Defendants allege on information and belief that removal of thc alleged architectural
barriers to equal access is not readily achievable.
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FOURTEENTH AFFIRMATIVE DEFENSE
14. Defendants allege on information and belief that equivalent facilitation was provided
to persons with disabilities
FIFTEENTH AFFIRMATIVE DEFENSE
15. Defendants allege on information and belief that any alterations to the Restaurant met
the “maximurn extent feasible” standard.
SIXTEENTH AFFIRMATIVE DEFENSE
16. Defendants allege on information and belief that removal of the alleged architectural
barriers would impose an undue burden upon Defendants
SEVENTEENTH AFFIRMATIVE DEFENSE
17. Defendants allege on information and belief that the modifications requested by
Plaintiff would fundamentally alter the nature of the Restaurant’s business
EIGHTEENTH AFFIRMATIVE DEFENSE
18. Defendants allege on information and belief that Plaintiffs claims are moot.
NINETEENTH AFFIRMATIVE DEFENSE
19. Defendants allege on information and belief that Plaintiff voluntarily and with full
knowledge of the matters referred to in the Complaint assumed any and all of the risks, hazards,
and perils of the circumstances referred to in the Complaint.
TWENTIETH AFFIRMATIVE DEFENSE
20. Defendants allege on information and belief that Plaintiff`s Complaint is not brought
in good faith, is frivolous, and entitles these answering Defendants to receive reasonable expenses
and attorneys’ fees pursuant to, inter alia, California Civil Code section 55 et seq.
TWENTY-FIRST AFFIRMATIVE DEFENSE
21 . Defendants allege on information and belief that Plaintiff was not personally deterred,
impeded, or deprived of equal access to the Restaurant while seeking goods or services on a
particular occasion as alleged in Plaintiffs Complaint. Defendants allege on information and
belief that the Complaint is barred because Plaintiff visited the subject property for the purpose

of instituting the instant litigation. Defendants allege on information and belief that Plaintiff, or

 

 

 

DEFENDAI;TS ANDREA L. SILVER MERRILL AND RICHARD WALTON MERRILL’S FIRST AMENDED
ANSWER TO PLAINTIFF’S COMPLAINT AND CROSS-CLAIM
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his agents, presented himself at the Restaurant for the specific purpose of looking for
discriminatory access barriers rather than to avail himself of the goods and services offered at the
Restaurant thereby precluding Plaintiff under California law from obtaining the Statutory damages
requested in his Complaint.
TWENTY-SECOND AFFIRMATIVE DEFENSE
22. Defendants allege that supplemental jurisdiction of the state law claims is improper
TWENTY-THIRD AFFIRMATIVE DEFENSE
23. Defendants allege on information and belief that Plaintiff failed to exhaust all
litigation prerequisites required by section 55 .3(b) of the California Civil Code, as amended.
TWENTY-FOURTH AFFIRMATIVE DEFENSE
24. Defendants allege on information and belief, without admitting that any architectural
access barriers exist, that to the extent such architectural barriers alleged by Plaintiff exist, such
barriers are within acceptable measurements and/or construction industry tolerances
TWENTY-FIFTH AFFIRMATIVE DEFENSE
25. Given the conclusory nature of certain allegations in Plaintiff’s Complaints,
Defendants have insufficient knowledge and information regarding additional, but yet
unidentified, defenses available. Defendants reserve the right to assert additional defenses in the
event discovery reveals or indicates that such defenses would be appropriate
TWENTY-SIXTH AFFIRMATIVE DEFENSE
26. Defendants allege on information and belief that a failure, if any, to be in strict
compliance with the barrier removal standard is excused as a result of obtaining an evaluation of
the property to identify needed alteration, if any, formulation of a plan to make any such
alterations the completion of some alterations and ongoing improvement efforts as a part of the
overall improvement plan.
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'DEFENDANTS ANDREA L. sILvER MEML AND RiCHARD wALToN MERRILL’S FIRST AMENDED_‘
ANSWER ro PLAINTIFF’s CoMPLAINT AND CRoss-CLAIM
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Wl-lEREFORE, Defendants pray for judgment as follows:

1. That Plaintiff takes nothing by the Complaint;

2. 'l`hat l"laintiff`s Complaint be dismissed in its entirety with prejudice;

3. 'l`hat Defendants be awarded costs of Suit, including reasonable attorney’s fees;
and

4. ’l`hat Defendants be awarded such other relief as the Coui“t deems just.

CROSS-CLAIMS
Cross-Claimants RlCl~lARD WALTON l\/IERRILL (“R. l\/lerrill") and ANDREA L.
SILVER aka ANDREA L. SILVER MERRILL, SUCCESSOR TRUSTEE of the LUClLLl;` l".
MORGAN lRREVOCABLE lilVlNG TRUST NUl\/IBER TWO (“A. l\/lerrill”) (collectively

“Cross-Claimants" or the “Merrills”) allege as follows:

Jurisdiction and Venue

l. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
§§ 1331, 1332 and 1343 for alleged violations oftlie Ainericaiis with Disabilities Act of 1990, 42
U.S.C. § 12101, etscq.

2. 'l`his Court has supplemental jurisdiction for claims brought under California law
arising from the same nucleus of operative facts and the same transactions pursuant to 28 U.S.C.
§ 1367.

3. Venue is proper in thisjudicial district pursuant to 28 U.S.C. § l391(b)(2).

Parties
4. Cross-Clainiant Richard Walton l\/leirill is an individual residing in ldaho. Cross-
(.`1aimant Andrca L. Silver aka Andrea l.. Sil\'er l\/lerrill, as Successor Trustee of the Lucille F.
1\/101'gaii lrrevocable l.iving 'l`rust Number 'l`wo (the "'l`rust") is an individual residing in ldaho.
'l`he 'l`rust was formed and administered in California.

ANSWER vl`() l’l./\lN'l`ll"l"`S (‘(_)l\ll’l../\lN'l` ./\Nl) (‘R()SS-Clt.-\ll\l
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5. Cross-Claimants are informed and believe and on that basis allege that Cross-
Defendant C&K MARKET, INC. (“C&K”) is a corporation formed and operating under the laws
of the State of Oregon.

6. Cross-Claimants are informed and believe and on that basis allege that at all
relevant times herein mentioned, C&K is the owner and/or operator of the Mt. Shasta Shopping
Center including the buildings, parking areas, paving, lighting, landscaping and drainage system
and that the “the Restaurant” identified in Plaintiff s Complaint, Taco Bell #021286, located at
301 West Lake Street Mt. Shasta, California, is located in the Mt. Shasta Shopping Center.

7. The true names and capacities, whether individual, corporate, or otherwise, of
ROES 1 to 10, inclusive, are presently unknown to Cross-Claimants, who therefore sue said
Cross-Defendants by such fictitious names Cross-Claimants are informed and believe and on that
basis allege that each of the Cross-Defendants designated herein as a ROE are jointly and
severally responsible for the wrongs alleged in Plaintiffs Complaint in the above entitled action.
Cross-Claimants will seek leave of Court to amend this Answer and Cross-Claim to show the true

names and capacities of the ROE Cross-Defendants when they are ascertained

General Allegations

8. Cross-Claimants are informed and believe, and on that basis allege that by
assignment, Cross-Defendant C&K l\/larket, lnc. is a party to the Mt. Shasta Shopping Center
Ground Lease dated October 14, 1976, as amended (the “Lease”) and assumed the rights and
obligations of the Tenant under the Lease. The Lease dated October 14, 1976, the Addendum
dated October 14, 1976, the Second Addendum dated October 14, 1976, the Third Addendum
dated March 4, 1977, the Fourth Addendum dated October 9, 2007, and the Fifth Addendum
effective September 30, 2014 are attached hereto collectively as Exhibit A.

9. The Lease required Tenant to construct a modern, first-class shopping center and
a parking area including paving, lighting, landscaping, and installation of drainage system(s), at
the sole cost and expense of Tenant. The Lease further required that all installation and

construction to be made by Tenant shall comply with and be in accordance with applicable

 

 

DEFENDANTS ANDREA L. SILVER MERRILL AND RICHARD WALTON MERRILL’S FIRST AMENDED_'
ANSWER TO PLAINTIFF’S COMPLAINT AND CROSS-CLAIM
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building ordinances and laws (Exh. A, Lease at Art. IV).

10. The parties agreed that the Lease was “a ground rental” and that the Landlord
“shall not be required to repair or rebuild, or make any repairs replacements or renewals of any
nature or description whatsoever to the lease premises whether ordinary or extraordinary, or to
maintain the leased premises in any way, and Tenant hereby expressly waives the right to make
repairs at the expense of Landlord as provided for in any statute or law in effect at the time of the
execution of this lease, or any other statute or law which may be hereafter enacted.” (Exh. A,
Lease at Art. VII).

11. Under the Lease, the Tenant agrees to strictly conform to all laws and ordinances
and all orders regulations and requirements of any and every legal, governmental or military
board, body, commission or officer relating to, affecting or controlling the construction,
reconstruction, replacement, changes in construction of, repair, maintenance, condition,
equipment, protection, occupancy or use of, any and every building, structure or improvement
that is or that may be placed or maintained upon said premises or relating to, affecting or
controlling the improvement, occupancy, use or condition of, or any work or operation in or upon
said land and premises or said buildings or improvements or any sidewalk or street surrounding
or adjoining the same. The Tenant agrees to pay and discharge and to keep the Landlord and the
said land and premises and every part thereof and any and every building, structure and
improvement thereon, free and harmless from any and every fine, penalty, assessment, charge,
cost, expense, outlay or damage that may be charged, adjudged, imposed or assessed, or that may
be incurred for a violation of any of said laws (Exh. A, Lease at Art. IX).

12. Cross-Claimants are informed and believe and on that basis allege that C&K is a
party to a ground lease with Co-Defendant Steve De Clerck Enterprises, lnc. dba Taco Bell
#021286 for the parcel depicted as TB/KFC on the Mt. Shasta Shopping Center design plan. 4

13. On July 28, 2016, Plaintiff Dimas O’Campo (“Plaintiff’) brought a civil rights
action against Cross-Claimants alleging discrimination at the building, structure, facility,
complex, property, land, development, and/ or surrounding business complex known as Taco Bell

#021286, located at 301 West Lake Street Mt. Shasta, California. Plaintiff seeks damages

 

-DEFENDANTS ANDREA L. SILVER MER_RILL AND RICHARD WALTON MERRILL’S FIRST AMENDED -
ANSWER TO PLAlNTIFF’S COMPLAINT AND CROSS-CLAIM
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injunctive and declaratory relief, and attorney fees and costs under the Americans with

Disabilities Act of 1990 and related California statutes (the “Underlying Action”).

First Cause of Action
(Express Contractual lndemnity against C&K)

14. Cross-Claimants reallege and incorporate by reference each and every allegation
set forth in paragraphs 1 through 12 of the Cross-Claim.

15. The Lease obligates the Tenant, Cross-Defendant C&K, to pay, and to protect,
indemnify and save harmless Cross-Claimants from and against, any and all liabilities damages
costs expenses (including any and all attorney’s fees and expenses of Tenant and any and all
attorney’s fees and expenses of Landlord), causes of action, suits claims demands or judgments
of any nature whatsoever arising from injury to or the death of, persons or the damage to property
on the leased premises (Exh. A, the Lease, Art. V).

16. The damages alleged by Plaintiff in the Underlying Action, to the extent that they
have been defined by Plaintiff or otherwise, involve damages purportedly caused by C&K arising
out of and relating to C&K’s obligations to construct and maintain the Premises including “the
Restaurant”, in compliance with all applicable laws and to indemnify Cross-Claimants for injuries
due to Cross-Defendant’s acts or omissions

17. Cross-Claimants seek for Cross-Defendant to defend them in the Underlying
Action by Plaintiff and to indemnify and hold harmless Cross-Claimants for any damages or loss
by way of settlement, judgment or other adverse decision rendered against Cross-Claimants in
this action, to the extent that such damages or loss fall within the scope of the indemnity provided
under the Lease or under any other obligations whether express or implied.

18. Cross-Claimants have complied with all the terms and conditions of the Lease
agreement with Cross-Defendant, except those obligations that have been excused or prevented
by Cross-Defendant, those obligations that Cross-Defendant has waived by its conduct, or those
obligations that Cross-Defendant is estopped from asserting

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DEFENDANTS ANDREA L. serER MERRILL_AND RICHARD wALToN MERRILL’s FiRsr AMENDED
ANSWER ro PLAiNriFF’s coMPLAiNT AND cRoss-CLAIM
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19. Cross-Claimants are informed and believe and on that basis allege that Cross-
Defeiidaiit breached its obligations under the terms ofthe licase to the extent that (.`ross-Claimants
are found liable for the damages alleged in Plaintiffs Complaint.

2(). (.`ross-Claimants have incurred and will continue to incur attorneys’ fees costs and
expenses in the defense of the underlying action and in the prosecution of this Cross-Complaint.
Therefore, Cross-Claimants have been damaged and will continue to be damaged in an amount

to be shown according to proof at time of trial.

Second Cause of Action
(Breach of Lease/lmplied Contractual lndemnity against C&K)

21. Cross-Claimants reallege and incorporate by reference each and every allegation
set forth in paragraphs 1 through 19 ofthe Cross-Claim.

22. Under the terms of the Lease, Cross-Defendant is and was obligated to construct
and maintain the Premises, including “the Restaurant”, in compliance with all applicable laws

23. Cross-Defendant has breached the Lease by failing to perform its obligations to
construct and maintain the Preinises in compliance with all applicable laws

24. Cross-Claimants have at all times complied with and performed all the covenants
and obligations contained in the Lease except those obligations that have been excused or
prevented by Cross-Defendant, those obligations that Cross-Defendant has waived by its conduct,
or those obligations that Cross-Defendant is estopped from asserting

25. Cross-Claiinants have and continue to sustain damages as a result of Cross-
Del`endaiit’s contractual breach.

26. Based on the theory of implied contractual indeinnity, Cross-Defendant is
obligated to assume and pay any damages Cross-(.`lainiants have incurred and continue to incur
as a result ofCross-Defciidant`s breach.

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Third Cause of Action
(Equitable lndemnity against All Defendants)

27. Cross-Claimants reallege and incorporate by reference each and every allegation
set forth in paragraphs l through 25 of the Cross-Claim.

28. Cross-Claimants are informed and believe and on that basis allege that each of the
Cross-Defendants is negligently, intentionally, strictly or vicariously liable and/or otherwise
legally responsible in some manner for each and every act, omission, obligation, event or
happening set forth in Plaintiff s Complaint,

29. Cross-Claimants are informed and believe and on that basis allege that they have
been made Defendants by Plaintiff in this action as a result of the actions and/or inactions of
Cross-Defendants which are the subject of the Underlying Action. The damages alleged by
Plaintiff in the Underlying Action involve damages caused by Cross-Defendants.

30. Cross-Defendants owe Cross-Claimants an equitable right of indemnity for any
and all losses and/or damages incurred by Cross-Claimants as a result of conduct or actions of
Cross-Defendants.

31. Cross-Claimants seek for Cross-Defendants to indemnify them for any damages
or loss by way of settlement, judgment or other adverse decision rendered against Cross-
Claimants in the Underlying Action.

32. Cross-Claimants have incurred and will continue to incur attorney’s fees costs and
expenses in the defense of the Underlying Action and in prosecution of this Cross-Complaint.
Therefore, Cross-Claimants have been damaged and will continue to be damaged in an amount
to be shown according to proof at time of tiial.

Fourth Cause of Action
(Declaratory Relief against All Defendants)

33. An actual controversy exists between the parties hereto relating to their rights
duties and liabilities Cross-Claimants contend that if they are held liable and suffer judgment in
the Underlying Action, Cross-Claimants are entitled to be indemnified as herein above alleged,

and are entitled to judgment over and against Cross-Defendants, and each of them, in a like

 

DEFENDANTS ANDREA L. SILVER MERRILL AND RICHARD_VVALTON MERRILL’S FIRST AMENDED -
ANSWER TO PLAlNTIFF’S COMPLAINT AND CROSS-CLAIM
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amount, and in addition, are entitled to judgment for costs and expenses in defending the
Underlying Action, including reasonable attoriiey’s fees. Cross-Claimaiits arc informed and

believe, and on that basis allege that Cross-Detendants contend to the contrary.

Wl~lEREl*`ORE, Cross-Claimants pray for judgment as follows:
1. That Cross-(_`laimants be fully indemnified by Cross-Defendants and each of
them, for the amount of any compromise, settlement, or judgment which may be rendered against

Cross-Claimants in the Underlying Action;

2. For costs of suit;
3. For reasonable attorney`S fees and investigative costs;
4. That the court determine the rights duties and obligations of the parties to this

action; and

5. For such other and further relief as the court may deem just and proper.

DATED: l\/lay 19, 2017 BRICKWOOD LAW OFFICE

/s/ GARY BRICKWOOD
GARY BRICKWOOD
Attorneys for Defendants
ANDREA L. SILVER l\/lERRlLL
and RICHARD WALTON l\/lERRlLL

 

 

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following lines substitu:ad in plac@ thereof:

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the improvem@ncs damaged by an uninsured casualty exceudw
$100.000 plus the ground rena capitalization S@t forth in this
subparagraph, Tenant shall have the option of rebuilding or
repairing such damaged impruvemcnta pursuant cache acandurdg H“a
procedures sen forth herein for repairing or rebuilding when she
damage ia caused by an inaurad casualcy, or terminating this
lease upon giving thirty (30) days written notice thereof co
Landlord; providad, howaver, such notice mua£ be given within
Bixty (60) day§ Of cba data of said casu@icy. In the event
reason se alecca co cerminace ruiz lease and any lender ch@r@by
forecloses. Tenant shall pay Landlord at thg time of giving SMCh
notice of election co terminate a sum of money equal to cha
zapicallzed value at eight per cent (b%). of an average oE the
pr@¢eding three (3) yeara ground rental payable hereunder as And
for Landlord‘§ loss of its fee interest in the Shopping C@nuer.

(p) On Page 142 the Second sentence of cha Firsc Pwva~
graph of Arciale IX 13 hereby deleted and the following aenrena¢
inserted in lieu thereof;

"The Tenant shall cparace its shopping center

businaes on cbs demised premiees during normal business hours

ané on normal business daya during the leaa& term unl&$a pravan£e<

casualcy,“
(q) On Paga ;7, Lin& 31 is hereqy dqleced and chc

"Accepued Aecouncing Prinaiples. Nocwichscahdlng
c§@ prcvxslons of this sabparagr§ph, if the propaged @Salguee §§
a parcuarahip, the net worth (a@ defined above) shall include cha
men onch 05 All g@narai partners of such partnership, And,"

(r) On Paga 18 (a), tha Eollowing sentence ma hur»by

 

add€d co Quhparagraph (v):
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the end of each annual perlod, Tenant shall cause s statomnnc of
th$ gregg rentals fog auch yaarly period to be cnrtlflad by a duly
licenaeé Cartlflsd Public Accountant, A Copy of the statement au

certified shall be mailed to the IAndLerd within the said Lh£rty

IE it is determined by audit or otherwise that

 

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any such statement is inuvcucaho, there ahail be an adjustment §
within five (5) days thereafter co correct the samo. Any infor~ t
mdtion obtained by Landlord pursuant tm the provisluns of this z
lease with reapech tc the determinatisn of the perc&ntaqe rent
paymen£ Or otherwise relating to the husxness 05 the shoppinq
centar Shall be treated as ccnfidential, except in any liti¢

qatl@n or arbitration proceeding between the pnrti@€, and axccpt

further that Landlord may divulqe Such Lnformation to d bona
fide progpective purchaser or encumbrancer of the premi£es,

(d} Paymenhs of rcntai Shall be made to Landlord at the

addr€ss specified in Articl: XV hareof, er ah sumh anker p\acp
as Landlord may erm time fe Ll&e in wcihznq direct,

{a) Tenan: hereby acknowledq&s that late gaymen& by

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amount Shall be due, unl&§s due to Causes beyond Tenane‘s §

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.§:`._1-: 9mm <c~“.‘r\.:.~ fc:z- of tle `,/ " --

     

   
  

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B|-,lnentary 'I‘ru. ts, and a' Co- cf the LUClL.IJ-` F, i-i'.'\§‘;<_;¢\.§-,’ Irrc:vmn‘.»i_~
if~ru:tee Of the LUC.[L"‘ F. Llivi.ng T::usi; Numbnr ‘1‘-\:0, lrmr‘;!<»\~ri

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lTr;xSi :§:.)m?)er 7‘\~!0,

 

 

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A parcel of land

 
   
 

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F`nni$n Soubh by of Seécinn 16 1n

Towuship LO North, Rangé' h Wost, M D.M, and more particularly

described as

Follows, TO WIT:

Cnumcnang at the cents r of Scr.LiGn 16 bhcnce,
35)6.10’ Chc?f\cee,

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20G 05 15" u,

G/O he 10~ w,
22"17 50" u,

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.l.,L' the:zc.r_\,

50 OO‘ 50 the irma point cf beginning

1 8 dCGcripb ion, thence,

5 22 017' 50"
N`é?“@z»lo~

concave co chc
.1509.91' and a

31
E,

125.09‘ bhence,

1110.75' LO the beginning of 3 curve
Northwesb an<i having a sudiHS of
radial bearing N 8§01@'}3" W, Lhence,

Sounherly 66,93‘ along said curve through a central

angle 2007’07",

S 7°56'34"
s 390&1'58"
3 705@'3¢~
4 33925'§32
w 22“A2'1G"
N 22°17'50"

W,
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chenee,
859.15' thence,
SO.A§' chance,
ZBS.OO' §hence,
549.90‘ vhen€e,
299.03' thenc€,
gg¢_g§’ hhenc€,

N 16‘ 35j 12" w, 201,00’ henca,

N 22l 171 50 w,

14§.00' thenca,

11 6701,2’10* a, 175.00' much

3 22°17'50"
M 07“52'10'
N 22017’50"

w
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51
w,

S0.0G' thencc,
135.00' vhcnc€,
155»()®' thence¢

Through a curve concave 50 the Soubhw.'zsl navxng a
vudius of 20.00‘ a distance of 31,@2' and a gun;pal

ungLv of QOO,

w EVOLQ'LQH

E,

Lhencc,
120.00’ dhence,

:h\ouyh a curve cowen ve bo nme Southnasc, n dLn w…uuc

`)1,52' having a radius of H0.00’ and a cenzrql

:ngle of 900

5 22917150"

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Lhens€. 1
lGS.L OO' vhence,

N 6701)211`0\1`5"1'?5.00 bh€!\€€;

i‘| 72("'\"_|\£50||
N 670/2'1@"

W,
w
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125.00‘ §henca,
70.L1' to cho point of beginning.

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151 £./1.-*"
i%K,}Qj/;
.“`__\-1_\_\
/72')//:/!:!'
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' ` 1 Flled 05/24/17 Page 71 of
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1}-" r¢al property silunte ln lha Uity of Ha, Shn;al,
goun;) !¢iskiyou, State of Cnlffurnla, dnscrlhcd as:

A portion nf loud in the Horth one~hulf of Lhu SQuCh cnn-
halE of Sncclon Six:een of Townshlp Forcy Hovch‘ Rangn Four Heac,
H_D\M. Councy of Siskiyou.

¢

_Coz::nclng at chc one-quarter corner common to Secclnns lG end 21 of T. bn w.,
R. h w., H.D.M.; chance N. 59“ 35‘ 22" U. 419.76 Iccc co the center llnc of control
llnc for Src:c Hl;hway no recorded Ln Donk d of Rccord of Surv¢yg nn page 2,
Scpccnber 13, 1963; chance along chc control line H. 22' 17’ SO" H. 1912.60 fcc:;
th:n:c H. 67° 42' lD" E. 1627.18 fcct; thcn:e S. 22' l?' 50" B. 50.00 fact to TH£
TRUS PUIHT OF BSCIKXIKC nE this parcel and being also on the Sou:h right of u:y
line ct Lake $crcuc; chance 5. 67“ AZ‘ 1 “ H. 141.77 feet along sold Sou:h rlgh:
of nny llnc of Lckc $:rccc; thence S. 22' lJ' 50" E. 125.00 fcct; chance N. 67` LZ'
lO" E. 130.33 feet to a polnt on the westerly right of way line of chc So:thcrn P:cltlc
kall:oad; thence along said westerly right of way line alo:g a 1809.°1 {c. radiu; . '
culvc co chc left, from a cnngcn: hearing H. 5‘ SA‘ 39" E. through a cencral angle of
A' 29' OU", n distance of 141.69 feet ca n point on the Suutherly right of way line
of Lake Strcc:; chance along said Snutherly rlgh:.nf may line of Lake Sc¥cct'through
n 1250 (:. r:dluz curve to the rlghc; through n central angle of 2‘ 60? 09“ n dl::qnnc
nl 53.7.] fact to the TI’»UE PO[!\'I' f)F BEClHNlNG. _ _ . ' l f

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i§;;l; __Q;r;;-§§ l 1‘.'§ fn

All that real property Fltdntu in inn Cnnhlv §“ flnhlv,' ~:§~~
01 Lalliornla, described ns Fcllnwc: ` l "` '

A Fractional portion nl the Edst l/? of the Sonc'tnn\ 114 nn\
the West 1/2 of the Southcnst l/h uf Sectlon lF, annnziw J"l
North, Range h West, M.D.M., dnscrihen as (n\lnws: '

Commenclng at the one~qunrter cnrnev common to Fnutlnr§ i'
and 21 of Townshlp EO Nnrth, Range d West H,D.”.' ` n
north 690 35' 22" west, hlg.?" reel nn tné crn~~r'i'nn §§
gontrol Llne for State nghway ns recorded in “=\: n`nr'§nn.ng
of Surveys at page 2, Septembcv 13, 1963; thcnui glenn ina
§ontrol Llne North 220 ll‘SU" West lgl?.NO Fenc- Ln¢n¢n m
o?° NE' 10" Easc, 1627.18 reen; chance south 294 171 zn"'.nn»
50.00 Feet to a point on the southerly line of lnké Atvn~t uni
the True Polnt of Beglnning; said point being the tc;lnnEnH-nv
accurve goncave to the anthwest having a central angle all
2 HS' 06" and a vadlus of 1250.00 fect, a dlstnncc cf nd.“"
Feet to a Polnt on the westerly line or the Sonthnrn Pnnirln
Hailroad Co. right of way through n curve cnncnvn to inv l
Northwcst, having a radinl bearing of worth 880 ;Y‘ §?" went
having a central angle of 6n ]U‘ ll" and a rndlnn CF l£On.Wj'
Fe&', a distance of 207.53 fuct; thnncc Snuth ?° 5(' ]n“ wnSL
SQQ.RG fant along sain Westerly line tv a polnt opposite
hnglncurlng Statlon 8127+8?.25; tnunnu S. 890 bl‘ 53" FA¢\
SO.HS F€et; thence Scutn ?Q 55‘ 3H" Wnst§ 3?5.30 Fn?: nlcn‘
sain westerly line; change N. 830 25* h3“ wesc, 57$,:: F-~§ i§
a point deslgnated as Fcint "A" henning tnenve Nnrtn 345 “" l
East NQ}<IS Feet; thence N. 229 l?’ SG" cht, lBk.}d Fen§;
chance North 160 35' 12" Wxst, 201.00 feet; thence Nny;h

920 lf‘ 50" West le.DQ Feet to the most Southcrly cnvnnr ,V
the Standavd Oll Company Lease; thence North 679 HP‘ |3“ Fnsr`
l?S.SQ Feet; thence Seuth 220 17' SG" East, Sn.on Feet; Lnn»nv
Nnrth 5?"l NE* lG" East. 13€100 Feet to the most Easterlj
corner of the Jerny?s Lease; thence Narth 220 l?' 50" Wezc,
lES,QG rest to the beginning of n tnngcnt curve cnncav¢ to

the Southwest having a radius of 20.0 reet; thence westerl;
along said curve through an angle of 900, a distance or 3\, 9
Fcet to the South line of take Street; thence Honth 679 "f‘ lU"
East, l20.0Q reel to a corner on the Texaco Lease; ahearn ann

a tangant which bears Ssu:h 570 hD’ lO" we;t, alonq n cnvvp
concave to the East navlng a radius of 20.0 reet, through nn
angle cf 90@, a distance of 31.“2 fech; thence South 239 i7‘ 5?"
tasi, 10'»3‘00 ramp lhwca norm 670 142' '10" tasc, 175,0.0

reec; thence Norch 229 l?' §0" west, 125.00 rent co cnn
Snncnerly line cf Lake Streec, thence Novtn 67“ NS' lJ" *er;
212.:6 rear se cne TRUE POINT OF BEGINNING.

Ckvncc

 

 

 

TOGETHFR W£?H a non~excluslvc easement For ingvss: x;i\uvlaa
and public utllltles, ahovs and below ground on n stnln cf
land described as follows:

Beglnnlng at a pclnt designated as Pnln: “A“ in Lhn wb\:~

description; tnsnaa North 559 23' Nj" Nestl 93_9§ Fcns_

thcnce Nnrth 223 H?’ lG" EJSC 39}.15 vai; ZRGF‘ NQFPW
"“anv w:

§
.; ,»\) neb\., )~1\).¢:; ic'=;'\. L.L.i wm natth l.l‘sl.zi'.‘l i_, -…

»"1‘

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LL

the Treennnse Motel bcn$v; tn.nce warth 229 l}' “ § St,
?5.90 Feet to the Santherly line of Lake Stvnot; cnewv‘ N"rrn
6?° H?‘ lG“ €ast, lZD.US Vvet to n nonner nn ann

Company Lease; thence Frnm n tang@nl nnlch avnrn

 

§?3 QE’ lG" WcSt, along a nnrve concave to the En

v
radiu3 of ES.G F€&t, 3 centra angle §§ 969 a dlatnr"w ;F

 

 

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11 ng gee;; §h€n¢€ gunnn 995 l?’ SU" Hast, CS0,0G Feel,jtn§n€a ,AW:K,-
Sonzn 160 35' 12" 535;, 201.00 ruet, tncnc¢ sonat '» »i L\Lp
. , . -- ':`-\ , * w, A~K

Hazt, ISW.B& Fae§; ch?n¢n nouth 389 H£' lG n»mti i‘ ! : `
tn ?nlnt "A" and tnv nnlnt n? heglnnlng,

)l il ri,/'

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fp,*,;\_'_§t_ ',L___,______r‘___*__m‘_w_, 197@. ?>C twf?c?n _.U~;‘IL-Il`€. F. ?‘ZORGNJ, and by
§§ iiL.l'c'..”\,‘.`§*j'l"zI D. ‘r."l.`.`LlH DIECP P'.N-IJY Wl` !',Jli c`(CGI[.‘v ’R.‘\\*', 513 SL=.£‘.C:ES:‘-Or ’l‘l'u;“-t.~»,\:u
, n." the ill';i`<l?,f€lz”l‘ R!'~l.~\N r~u',-‘,RHZLL '?‘ee§tar.\@nta:y Tl'ust, ann by 1,117.,\3,,.'.
ill I‘/"¢?.(;SH and P<,\LL,Y \Iv.': LS:'! 1<.\JILVIZ1Y na C<.')~Hustces of the l"-",{ L-LH
5.; 5', M )1':6.§1~1 zx):evccabl 2 leinq "n:ust limmer -wg, l\._.;>rseln called
§ /'/1>;'./,~211?-!1< /// ~\M. §
.`1 "’Anriloz‘d " and by rCU`lS !\. lll`\f}'\. ll and f-!}\R‘y: ,5,? HABI\SM, Tenant, is,,.
'i hereby amended as follm)<
(a) Tenant recognizes that Landlord has heretofore
16 l cnte'cec- J.nte`a leas`e with Szlfeway Stm;1»,\$ that contains restr lc~lel.\
111 clauses Concerninq th»:: establishm€nt QE a c<‘.mpetu'\q Eooc§' sales

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:.1:11:5§ wlt`nin lG=.')U lent m f;'nep<»)=z

   

leased I:) SaaEewz)_y S:crc:;.
13 "'.'en-“lnt therrzfmrs> egz'e'?z; not bn eng.;\q@, 01 permit a duncanan 1;0

14 /znm.n»jn, 11~, a food gale bn§ine$$ )`.n \/'loleti:)n GE mid restar»`.ctl'\'e

 

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_Eg’loyz? §ior 1;;0].3t'10n by Tenant 01': eai.d restr iCt lv€ Covenancs,

 

1'7? {h‘) Tenant recf>:;ni: that t_\'-.»;» pr<~,pev by c'?@&crlbs:d in

18’{ `X£alz'!l"}" ’EB" '.-)hiC`r\ 15 AC"C.»’C)‘. S@- 50 C?‘=€ EHDPPI'»"{'(`: C[>`N'f`§ff€ GZLC)`U\‘{H L¥:L\S£`

 

leased to U!~FEGN' OIL CO!!P¢`~N“:‘ -'SJ;~‘ CTALIE 1"0.?*.-’?1-"\, a .",‘1')':€)0:‘.:~

29 ti(.)n (lmrzeé.n called "U'NI'ON"). Upo.n c)<e:¢`:mlc)n of tim 315~'31\{;';@

 

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x mall 410 ’I~I£.O'»") nn Ei><e<t=lt€.‘(.‘ "F\GFi"liil"?`-"i‘ "1`0 (.".*\.a‘-:'L"!;§L Li$"`~$l", , " ‘d CFJ {.>V

231'10$: wlzlcl‘. 1.1¢1:'1;€:1‘- S><hi.t\§r. "/§" 15 attached hearsth and ln<::)rpq-gz~_@\;

24~':1);» reference ?wl'eln. T`e)§: part ies hea'€'§O believe that m`r'(€l-'r is

et\<¢’.¢:: l,o, ».\'Y\W:~.J'n§?e ita leess) and will readily »zziecuz@ cna A]z .2“

'man to rf-'x:§<;e) umwa l‘-.", 11@\-)1:\/'-:.‘1', !,-"1-!{{?.\%1‘1:511525 m 1§:/_@1_-111;@ gain

 

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13) 'T`ni- l.¢;n:an-\"¢ ::r€:n`xee“; shall \..nz~`mr'lr- .'z=\l\

L'h€§» pruplzzt‘/ '."l€-S.f,'ril:s=d 'Lr\. ij)<nl‘.'xi" l1”»\" wh~\_c:lz

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;\l§ charg:_: cl to l-\.:)See fur ma same peri.@d, and (2) Lx'ne i:a',l.auc~;~ m
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1126 lessea, memo shall mem 11::.\.'.<»-,:0)10 offer ‘» to mitl<ga:n z ;.;Q@' §
13 115‘31 lz.t:_/ under msz provision, ~ ‘ .
351 l " (2} 1'.¢.\'-.,=;0`:.‘ shall he entitled at .leu:.-\‘m':‘
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§§ ».;1.&€“¢1_:“21 to ¢:§a.zr‘z-j;<ea in the followiqu awzr.';; (l.) all. :mu)u¢\\`::a chan
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l"i!‘St Addendum to Lease

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ELIZ.'\E§ETH D, WT.JLSH and FQLLY \m[..fi[{ HC G'ILVR)\Y, ¢`\S 5 CCESSOL' ’I‘rui` -te;:

3 of the HERPERT RE\M la ”RRILL Testamcntary Tzust. and by ELIZAHSTH

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HELSH and POLLY WE{SH MCGILVRAY, as Co~TruStces 05 tva LUCIL{E

F. MGRGAN Irreuocable leing Trust Number Two herein called
" /Z'c".’.'!'-(G ~{',',¢(./5" ~»’>~"'3\ ="
"mndlord," and by Lours `1\. sma)w,=; and w\ny }?. naaz.szz, Tenan+_, 15,,

hereby amended as follows

{a) Tenant receqnlzes hhat Landlord has heretofore

f£>£D-Q<DC'£»>C‘Q

10 entered Lnto a lens e with Saieway Stores that contains restrictivn
11 clauses concerning the establishment 05 a competing food salea,
12 business within 1500 feet of thepremises leasedtn Sa£eway Sto:es,
13 Tenant therefore agrees not to engage, Or permib a Subtenant to
14: anage, in a Eood sale`business in Giolaclon of said res:rictiv@
15l covr.ants an& fcmther aqree§ to lndemnify §nd save harmless

151 Landlord for violation by Tenant cf salfi rest rl<:t;i we covenants.

17 (b) Tanant recognizes that th§ property d§$crlbed ha

18 F,.}{Hl:“,»f‘l" "B" which is aikaflh&d 'C_U the SHO?PI£ IG CENTEI' G".{`Ul\ 'D LSASE

 

19§ ls pre$cntly leased to UNICN OIL CCHPANY OE CALIFQHNIB, a Corpofo»

klan {hcrain called "UNICN"). Upon execution of the S§GPDINC

  
   

zC.LHTZ:TR GR OUHD LEASE and this ADDEHDUN TO LEASH, Landlord wlll
“ail t& UHION an executaé "hG ”REEP ‘C T TO CANCHL L£ASE," a copy

of which ma;ked €xhlbit "A“ is attached hereto and lnca:pa:ated
riby re§a£ence herein. The parties hereto believe that UNICH is
zaqer ta terminate its leag€ and will readily executn th@ Aqree»
mens to Cancel Lea§ca lf, h®wevor, UNIOM refuses he execute said

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27; Ag;eemvnt, the parties hereto aqxu@ 85 fUllHWS:

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Case 2:16-cV-01769-.]AI\/|-CI\/|K Document 21 Filed 05/24/17 Page 81 of 123

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(L).L) The annual baum m.i_nlm:m rand payable
during the basic term of the Lease shall be
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`L‘)?E), and by E'LIZ‘\B;'FH D, i'~’l§lS H and PGLLY UELSH ?"»CGI.)`VR,¢\‘.', 35
ucc&ssor T‘:ustees cf the HERBER’I‘ R'SAN MERRILb TES"L‘F~ .‘U-JNT/\RY TRUST.

and by iLl"?‘#\Dl`-'I'H D WE l$l{ AND POLLY §\_'EL-SH MCGI' _.VRAY, as Co--Tr\x$tee>s

10 GF tha LUC`IL[E F'. HORGA=_`J U\‘P.., "`VOC)"\BLE LIVING TRUS‘I‘ NI;"-LBBR 'l‘l»’!\”), in

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Case 2:16-cV-Ol769-.]AI\/|-CI\/|K Document 21 Filed 05/24/17 Page 82 of 123

Second Addendum to l.c:\sc

Case 2:16-cV-01769-.]AI\/|-CI\/|K Docum§_nt 21 Filed 05/24/17

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L-’, LS"'.'€), between LUCILU.'} l" 1".()}:€`»1\&), find by F-LIZI\.DS `if D.. ‘.'.~T;"I,Sh’

and FGLLY WSLSH MCGLLVRAY, as Successox Trustees of the HSRDERT
EEAH MERRILL TeStamentacy Trunts, and by ELIZABKTH D. HELSH and

PULLY WBLSH NCGlLVRAY, as Co~TrustGes of the LUCILLH F HORGAN

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nd

Irrevocable Livinq Truat Number Two, herain called "Landloyd," a
by IDUIS A, HADFSI@HG HARY R; HARASH, Tenant, is hereby amended

as followz:

(a) Prepmiiminary Tcrm. A preprelimln§:y term of this
lease shall cobmencelon'th@ date of execution hereof and shell
end at midnight ninety (90) days aEtér it commences. If Tenant
has net given Landlord written notice that it intends to construe
a shopping centé; an the demised premises at the dxpire:ion o€said
the

of thé partie§ hereto shell also terminate,and tva partiés shal!

ant@r into a written agreem@n;, Fuitable fur recording, evidencing
such terni§ahion, Du§in; the prepralimiu:ry term haye§§, no

entals shall be payable by Tenant under the laasa, and Tenant

sh§§l not be subject ku any provisions of the Lease except 55

cngressly provided in payag:u§n (a; oE hRTICLR 11 of the Lease.

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§Hecutaé by e Landlonds, LUCLLLH F, MORSAH§ in the

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Clty Of Sacramuuto, State 05 Califoruin, on

197{:, and by lfl,IZF\UE'I'!l D. l'\’El»SH and POLL`_<' NI_-)If»i-[ MCGIL‘J'PJ\Y, 55

Succcsaor Tru$tces vi the HHRBHRT REAN MERR£LL THSTAHBMTARY TRUSTS

§§Hc City cf garramento, State u‘ Californla, nn tha iékh day §§

 

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QQ~dey perind, this Lease shall terminatq all/rights an€ Ghliqatiu#

14th day of Octo§.':r.>.<§

Page 83 of 123

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Third Addendum to I_.casc

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8 § war gel/cain s§l.ovemc cENrcaR emma Lm\se dated october
11§. 1975, becwe§n 1_,0chLE F. M:)RGM:, and by ELIZASF,TH 04 wm.sn
:§ and POLLY WELSH McGILVRAY, as Successor Truscees of the HERGERT
§ REA§< Mz:aalu, Tescamencary Tmscs, and by mrzaami x). waLsH end
6§ POLLY NELSH HCGILVRAY, as CO-Truscees of the LUCILLE F. HOR§AU
7§ lrrevocable Living Trust Number Two, herein galled "Laqdlord“ and
B} by LOUIS A. HABASH and HARY R. HABASH, herein called "Tenang", 15
9 hereby amended as Eollows:
10 (a) On Page 1, Liue 12, cba word "Landlord" is hereby
llé deleted and the word “Tenanc" subs}icuced in 183 place.
12 (b) On Page l, Line 16 is hefeby deleted and che'follow0
13 ing line is §ubsticuced in place thereo€: '
jd “Exhi$ir `C' which is attached hereto and", l
15 {c) On Page l, Ltnes 18, 19 and 20 are hereby deleted l
18: and the following sentence substitu§ed in place thereof: l
17; "Landlord specifically reserves all mineral righcs
18, co such real propercy. but wic&ouz righc of surface entry above
19 3 d&pch of five hundred (590) feer.“
20 {d) On vega l, the words "gives wriccen" on Liue 2a
21 and "nocice co Lan¢lord of the opening by Tenan: of" on Line 25 ace
225 hereby deleted and eha following wGEd is substituted in place
23; therec€: "opens“.
24 (e) On Page 2, the semi~colou ab cha end of Line 3 is
25: hereby deleced and a period C".") is substituted in place checeo€.
26: {E) Du Page 2, Lines 4 through §§ and chc following
27§ words on Line 17 are hereby dulecad: "1“ chis subparagraph (b) 1
gaf of chis Article l " [
062 (g) On ?ag% 2, the fcliowing subparagraph iv h¢cehy
86 added co Aritcle l 1
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C? al -3 ca :x a. cs nn »¢

Case 2:16-cV-01769-.]AI\/|-CI\/|K Document 21 Filed 05/24/17
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"{d) §§Rewal_farm§.
dl I'f ` - x 1 . .-
. Tenant 15 no: in default in the pcrrormance
of any obligation hereunder, Tinant shall have the option ca
extend the Basic Term of this lease for Four (4) consecutive

renewal tuxms nf five (5) years each, by giving Landlord notice

l

 

of its election co do so nor less than one hundred twency (120)
days prior to the expiration of the then existing term‘ Should
any option co extend the term hereof not be exercised, there shall
be no right thereafter co exercise any option to extend the tenn

hereof, A new lease need not be executed upon the exercise cf any

 

such option. but this lease shall remain in full force and effect
except that there shall be nn uption to extend the term herenF

following the expiration of the fourth (GCh) renewal term."

 

 

 

(h) On Page 3, hines 22 through 2§ are hereby deleted
and the following lin&s are substituted in place thereof:

"(c) During the §ifty~five year Basic Term hereof,
or any renewal term, Tenant agrees to pay Landlord an annual
rental of Twenty“$ix Thonsand Two Hundred Sixny Doliazs ($26,2&1)
(her&in called`th& `Basic Hinimnm Rent'?,"

(i) On Page A, Lin% 1 is hereby deleted and the follow-

ing line is substituted therefore:

 

 

"full calendar month of.Such tezm. The basic

minimnm rent fur any other p§r~".

(j) On page &, hines 4 and 5 are hereby deleted and the

§nllnwing substituted therafore:
F 1

"rent Above provided which inn number 0: hays

hi nunn year bears to three hundred sixty~five (365) “

fl.\ .=\., Y\.... ll ?.'...,,. 41 '11 . ¢-»,

and the following is hereby inn€rted in lien cngrnc{;

"The term '5rnss rentals rex»ivnn by cng Tenant

timm irs snbtunant:` shall nut incindn nmnunts pain by any suh~

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cenanc co Tenanc co rfimburse Tenant fur Tanunc'n ouc~nE-pncknt
costs of operating cha shopping center, including\ but not
limited to, real proper;y Laxes, insuranco, repairs, maintenancc,
management fees and utility chargesf whether hilled... "

(1) On Page hO, the last two words on Line 10 and Lines
15 through 18 are hereby deleted.

(m) On Page 10 (a), Line 18 is hereby deleted and she

following is substituted therefor:

 

 

 

"No:wichstanding the preceding subparagraphs nF this
Article VI. if".

{n) On Fage 10 (a), hines 26 and 27 are hereby deleted
and the following is substituted therafor:

,"lf ac any time during Lhe 1335 chree years of she

§
chen applicab!e Rermf gha huflding§ chen on fha demi$ud premises
shall be so damaged.,.."

\

(0) On Page 12‘ the following provisions are hereby
added ce Article Vl:

"§QLE§Q§§QHQ§§§§LI§. Notwithscanding the foregoing
provisions of this Arcicie vl, in the event of damage no the
improvements caused by a casualty for which insurance is not
required under the terms cf this iease and for which Tenan; has
no insurance (herein called an 'unin§ured casualcy').Tennnc shall
have the following rights and ohii@ations:

"(a) If the damage ca aha improvemnn;s is from
an uninsured casual:y the cnst 05 which 50 rebuild or repair is
less than $100,000 plus the amoun£ determined by the ground rent
capitaliznclnn set forth in subparagraph €h) immediately below,
chen Tenant shall repair or rebuild such damag§d portions of chu
Lmnrovemenrs nnrqnanr rn rha §r§~n»ra: `»» ~~~~-4-»~- ~~» ¢~»~L
for repairing sr rebuilding Ch@ improvemencs when thn damage is
Caused hy an insured casualty ad herein set forth

"{b} lf the rust of repairing or cahnil;`nb
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the improvements damqgad by an uninsured casualty exceeds
$lO0,0UQ plus the g;ound rent capitnlizatinn sec Eopch in rhis
subparagrapn; Tenant shall have cna option of rebuilding or
repairing nuch damaged improvements pursuant cache standards and
procedures sec forth herein for repairing or rebuilding when the
damage is caused by an insured casualty, 05 terminating Ehis
lease upon giving thirty (30) days written notice thereof cc
Landlord. provided, :nwever, such notice must be given wichin
sixty (60) days of the date of said casualcy in the event

Tenant so elects to terminnce this lease and any lender thereby

 

14.f

 

 

foreclosesl Tenanc shall pay Landlord at cna time of giving such
notice of election to terminate a sum cf money equal nn cna
capitalized value at eight per cent (HZ), of an average of the
preceding :hr`e (j) years ground rental payabl§ hereunder as and
for Landlord`s loss of its fee inceresr in chu Shopping Cenccr.
Cp} Qn Pags 14, the second sencence of cna Flrsc Para-
graph of Arcicle IK is hereby dnleced and cha Eollewing sentence
inserted in lieu thereof'
“The Tenanc shall operate its shopping center
business on the demised premises during normal business hcurs
and on normal business days during the lanse nerm.unless prpuente
from ewing so by causes beyond irs control, such us fire or nchey
casualcy.“
‘ {q) On Fage l7‘ Line 31 is hereby deleted and the
follnwing lines suns;itucad in place thereof
"Accepced Acceuntin§ Principles Nn!with§tauding
rha pruvisians of chi; subparagraph, if cnn pzopcsad assignee is
a parinarship, ina nec worcn {as defined ahuve) shnl! include inn

.\:.- ..,.1 r. v

l:} Un Page lH {a), the following een:encu is hvrehv
added 50 \uhparngrdnh (v)
"?cov\ucd, howevec, thul rental uavwen;s and none

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payments of the Tenaqr which become due

after the date of any
such assignment shall not be considered as arising before the
effective date of the assignment."

(s) 0n Page lB(a), the first full paragraph of Article
XII is hereby deleted in its entirety and the following pnragravh

inserted in lieu thereof:

  

:§u_ILQ§_<.

"If Tenant is not in default hcraundex, Landlord shall.
promptly after notice of request from Tenant (as provided in
subparagraph {i} hereof), execute and deliver a deed of trust.
cr other security instrument (hcrein sometimes called 'mnrtgage“)
sufficient 16 suburdinate. to the lien of a first eunumbrannv
represented by the muctgage, Landlord's Fee title (whlvh shall he
considered to include fee title in the premises or any part or
parts of the premises.(inciuding all rights and appurtenances),
and the leasehold hereby Created. together with ali rents and

ether benefits due co Landlnrd under this leuso, and shall execute

and deliver such construction ivan agreements and other instrumnnip

as the lender or title company shall require to enable Tenanr to
obtain ccnztru;tiun. taks~out and other iinancinp as hereinafcwi

\x

sec forth. As used in this pavagraph, construction financing

means interim mr short-term financing ns limited by the conditions

below; take~cut iinauciw§ means pcimanant ur Long-r»rm findnclng,
the proceeds uf whiuh, in whole or in pnrc_ are rn repay and
disrhar,@ th@ taust:uctinn loau. Nuthing in this provision shall
be construed to rnquiru Tonnut to divide thn financing into
Cunsrructlhn and take~out loans inscejd of n singlv. lwnp terw

(... _....._._ vi »_»¢i:» !,)\_»L.l£_',rh{m S\'\=\\l hal r,\m}<‘\!l' ¢:‘\ r:'<.\
following gondiiiun§."

(t) ()(i P=\g,»‘ 1',", l.l'.lb=': "s l';i l‘.'lfl.*!`»‘,' 'i:‘]wl\_“.{ a'lr') the ;`\_v]_l:;w

ir\,'_ {`: :'.‘l‘.'~s'“!.r.u'.-'\A"i tlz'.’i'¢:|:\?)r ,.~)I,

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: FW

"Ch€ SHW secured by any deed of trust. morcgagn
COUSCYUCCiDn loan HBFC€m@“f Ur ther such security ins€rumunc

(nerein called ’deed uf.crus:'):"

(u) On Page l9, subparagraph (b) of Arclcle XII, Lines

12 through 23 are hereby deleted and the following new gub

paragraph (b) is substituted in place chereu€

 

h

“(b) Any such loans (lncluding but not llmiced re

construction loans and.p&rmanent loans) secured by said deeds of

 

crush shall be made by any commercial or savings bank. savlngs
and loan insticuclon, insurance company‘ pension fund or mortgage
company, authorized to do business in the State of Talifornia and
shall comply with the following terms;

"(l) Any construction loan shall not exceed

 

 

the principal sum of Two Hillion Six Hundred Thnusand Dn!larg
($2;600;000) plns advances made‘afcer giving Landlord ten (lG)
days prior written notice of its intenclon tn make nash advance;

b" the lender tn protect its security (l.e , for taxes. insurance

par cent (102) per annum, shall be ncn‘amorcizlng and shall be
repayable in full in ncc less Chau One (I) year nor more than
:hree (3) years.

"(il) The initial`permanenc lean shall not
cx¢eed cha principal sum of Two Hillion 51x Hundred Th@usand
Uollars ($2,600,000), plus advancea made by the lender co pro;ecc
its security (l.e , Eor taxes, insurance prumiums, ncc )‘ Shall
bear interest ar a race not in excess of cnn par cent (lOZ) peg
annum aFCer any lni;lal interest only period!shall require gq"ql
monthly inscallmcncs of principal ann lnceres: based upon an

. wulul“ J[ nol m~Ln »nau cwancy~elgnt LAU) years

and shall require rnpaymnn\ in full in mar 1233 than *weu£y (2@}

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fi;\) The principle nwnnnr of n=y innn

premiums( etc l shall bear aneres: ac a race nut Ln excess of ted

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necured by any such’dued of trust may be increased or the shopping
center may be reflnancnd at any time so lung as the new principal
amount of any loan in excess cf the existlng loan, plus veilnnnclng

nhargea, la applied to remodeling or adding to existing improvement

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l
5 on the leased premises. Provlded, howevar, ln the case of nn amu%
6 length bona fide sale to an unrelated third party, the shopping

q center may be refinanced if the purchaser pays at least One Mlllion
3 Dollara ($1,000,000) cash as its equity investment and the total

9 loan, plus refinancing charges, does nut exceed seventy-flue par

10 cent (752) of the total salen price. ff Tenant uiqhns tn lntreuse
11 principal and/or refinance the shopplng cencec, the principal and

11 interest amount of any such loan or loans shall be limited by the

13 following Enrmula;

14 a. ~ (h. + c.) ' di (a. minus h. and cl must be
15 equal to or greater than d.)

a. The average of the three (3) Frlor yeazs' gross `
16 rental received by Tenant from its subtenants (aa

defined ln paragraph (k) of thls Third Addendum
17 to Lease).
/1 /

13 h, lwo clmea the average of the three (3) prinr ynnrhw
19 ground rental pnyabb , Landlord hereunder '

t. The average of Tenant' s flve (S) prior ynazs‘
gsa cxpenaea ln connection wlth the leased premis»s
exclusive of any subtenant concrlbucions.

 

 

 

Rl =
d. The total annual debt darvlce on the Luan or loans. _
-"“l .'
23 "lE major remndeilng nr an addition to the §
l
2€ propartv la contemplated co accommodate o new subtenanc, than any 1
' ' 1
25 increase ln rent renul£lng from the Sublunnn with sald new nub.
23 tenant shall be included ln the gross rental flgu:e aa per thin
?7 pnrngrnph, Pclnclpnl and interest shall be payable ut times and
' nn towns an roqul:un by the lendar, but ln equal monthly Lnntnll~
ns l
mnntn ot prlncipal and interest ever a perlon mt not lenz than
29
80 twenty (2&) nor ante than cnlrty~flve (]5) yanrn, pinvlnvd, how~
*l ever. any such loan ux luau@ Uly cnlL fur iull nnyannv ni trin
ER nlpql sol lnin:vu: nn amount thor ten (IQ§ ycnrn prlni tn the full'

 

 

 

 

 

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nmorti¢ation date of said loan or loans. in any cnse_ ali loans

shall be fully amortizen and any encumbrance discharged or
cecunveyed at least three (3) years prior to the expiration of
the Basic Term or any extension thereof. Tenant prior co any
such increase or refinancing shall provide Landlord with copies
of any new leases and also copies of the plans for any contemplatec
remodeling or addicions. Ferther, any such increase in principal
of the loan or refinancing of the shopping center may take the
form of multiple notes and/cr deeds of trust and/or an ali-
inclnsive deed of trust (whlch may he senior or junior one to the
other) and shall bear interest at a rate not to exceed the legal
interest rate limit (or if none is applicable the rate shell

not exceed four (4) percentage points over the prime interest

race then being charged by Bank of America, Nalional ?rust §

. Savings Association in California), so long as there is sufficient

net cash flow for debt service under all loans secured by such
deede of trust pursuant to the formula hereinabove set forth in
this subparagraph. Further, Landlord shall be paid on close of
escrow from loan proceeds one~tenth (l/lO) of one percent (lZ)

of the principal amount 0£ any such re§inancing as § fee for

l processing all documentation pertaining thereto submitted by or

on behalf of Tenant.
“in the event of such principal increase or
refinancing, Landlord Shall subordinate its interest in the

demised premises to each loans in thesame manner as hereinabove

’ set §orth."

(v) Gn ane 19, Line 29, the first word of subparagraph
(c) is hereby deleted and the word "any"suhstituted in lieu

thereof.
:/£.
(w) On Page LO, subpalagraph (d) of Article Xll is
hereby deleted and the following is inserted in lieu thereof

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-"fd| NOtwithstandinq the provislons of Art\uln vi

the following four provision$:

(i) Trustn; will pay when due all monies
secured hercuy, thh interesc, in lawtul money
of the United States. Truscor le] pay at \nasc
Lnu £lU} ddys before delinquency all taxes and
anqessmencs affecting said prmperty or any part
thereof (includinq assessments on such propercy)
and upon requesc delavex to Bwnafiviar» reae\nns
therefnr. Tlustor will knop all u( saLd plopevhy
inqured, with loss payable cu Bcnef\ciary!
against fire and such other hazards and 1n such
compunies, on such forms and in such amounts fox
each hazard ns chnficiiry from time cu alma
cnzy require, and deliver Akl policiws. rvnnwolu,
qnn premium receipLs thereof tc Uenv€icxary at
!ea:: cnirry days bsfnce cna eff:u:\vc dane
tharenf, and dc ali Lhinqa nn€v€>azy tn uhrnin
prnwpn auttlnmant for mann lnq» ne claim ¢n\-:w
by Any 5nch pulicy. Hirhnn( wal\'nq ne vnr r1

l\;\»’¢ `_,.3{'.1_;1{ \,'z ‘1|!', uh\i:}i\!\ '.’\ h.‘&¢'l’!}»‘, ‘.?i?"‘|l’i€i.

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and Article XLV hereof, Landlord and Tenant agree that any deed of

trust permitted by the terms cf this Article KII may contnln, rn

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1 Baneficincy may deduct and ratain from the prn- g
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2 ceeds of such insurance the amount 05 311 expense 5
3 incurred by it in connection with any such sectio-
4 menc, and shall release, pay or apply the balance l
5 0£ such proceeds in such order and proportion
§§ as Baneficiary may determine in its absolute
7§ diSCr€CiOn {a) am Trustor. or fbi on the cosa l
3 05 restoration, repair Or alteration of any or f j
9 ali of said property to UQneEiciary'$ satis~ j
10 Eaction, or {c) on account of any item of in- §
11 debtedn@$§ or obligation hereby securnd, Any ,
12 monies released to Trustur or paid or applied j
13§ ‘ on the cost of reacoratinn, repair cr altera~
14? zinn sh&ii in no event be deemed a payment on
15' the Mn`cbtedness hereby sec red, Upon sale of '
16 any of sain property Eo; default in performance
17 of any obligation hereby securad, aii unexpired x
i
18§ hazard insurance an the property so seis shall
193 gasa to and inure to the benefit of the purchas~r
id
20§ of such property at such saie, and Bune§iciary
2§§ is h&reby irrevocubly authoriz&d to assign in §
22§ Trustor’$ name to such°purchaser all Su:h policies
23 which may bn amcndnd cr rewritten to show cha l
int&icst nf Snch pnrchaser.
(ii) nil compensation and avery award 05

 

 

danaqas in connactinn with any Candnmnahinn for
public uSe oi, or injury &n, ali 05 any part of

said praperny is here by assigned and Shil‘ b€

 

 

 

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312 in ina same manner and with the game effect §§
32§§ nbcwa provided for digpnsic\on cf insu'an.c

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procee?s. Trhstor Aqrees in this connection to
execute such further assignments as Unneficinry
may require.

(iii) That notwithstanding any provisions
herein to the contrary and in particular para~
graph (i) hereof, in the event of any such loss
or damage ns therein described to the improve~
ments upon the property encumbered hereby, it is
hereby understood, covenanted and agreed that
Beneficiary Shall make the proceeds received hnder
any such insurance poiicies as ther@tn des:vihed
available for the restoration of the improvements
so damnq@d, subject to the fnllowinq conditions:

(g) that ?rust&t is not than in default under any
cf the terms, covenants and conditions hcremf;

(b} that such restoration is required by the
terms 05 or is necessary to preserve any and all
space leases which may then be outstandinq Ln

favor of Thcifty Dxug, SProuSe Reitz, United
Groceries or any other space tenant which
Heneficiary then deems to be a credit tenant

under Beneficiary's customary loan underwritlnq
standards and all such leases wilt Continue in

full force and effect for not less than five yearz
thereafter; (c) that Beneticinry shall fxrst be
given satizfactory proof that such improvawunta
have been fully restnred cr that by the §xpunditure
of such monty will he fully restored, tree ann
clear ct all liens except as to this )n§d of
Ttu¢t; (d} that in the event Suvh pruceFd§ Snnii
he tnutfftclent to restore ns rthil& tnt said

lmurovemeuts, Ttustor or the snavc ten\nt nnderl
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any lea§n aforesaid Shall deposit promptly

with Ueneficiary funds which, together with

the insurance proceeds, shall be sufficient §
co restore and rebuild the said improvements;

tel that in the event Trustor shall fail within

` |
a reasonable time to restore or rebuild the

 

 

 

 

said improvements, Reneficia:y, at its sole j
option, may restore or rebuild the said f
imprcwe:ents for or on behalf of inn T:nxzos nav 5
for such purpose may dc all necessary acts; §

(F) thai waiver of the right of subrogation shall
be obtained from any ingurcr under such policies
‘of insurance who, at that timc, claims that no
liability exis§s ns to the Truator or the chen

owner or the assureds under such policies; iq)

 

that the excess 05 said insurance proceeds
above the amoant necessary to complete such
restoration shall be applied as hereinbefore
provided as a credit ups: any pnrtion, ns
selected by Bene§iciary, of the indebtedness
secured heceby. fn the event any cf the Said
conditions are not or cannot be satisfied, than
the alternac& disposition of Such insurance
prcceeds, as provided in paragraph (i) hereo€,
Shall again become applicable, Under no cir-
Cumscance» shall Bene iciary become personally

liable for the fulfillment of the terms, gove~

 

wants and canditions con& ined in any said annie

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the Snid improvements,

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(lvl ThdL nntw\th»tnhdinq any pinuinLon
heroin tn Lhw Contrazy and in particular pira-
qraph iil) hereof, in the event of any donnqu
ur taking as hereinbefore described by eminent
domain 0¥ 1955 than the untirn property encumbcrvd
harchy, it 19 hnrahy understood, cnvonanted nnd

agreed that Bnneficiary shall maze availnhlv the

_i_.,..~___. __`_ _~`_____,_.__..__ ________

prcceeds uf any award recwived in cnnnecrinn with
and in nnmpenshtion for any such damage or lakinq
for thn purpose of restoring so much of rnn
improvements within the said nrcp@xty affected

thereby, suhiect to the following cenditions:

ial that Trustht is not then in default undir nny
of tha tec~s, umv~n:nts or umnditiwn> thcrcuc:

fbi that such restoration is required by the
tErPS nf ur is necessary to pvesnrve any oz oil
space ler.\<'r$ which may then l.»c. u\ll.zz(.¢'mrlil.q ll
favor cf Thrifty Drnq, Sprnnse Ral:¢, Unileé
Groceraes or any other space tenant which Bnne
ficiary then deems to he a credit tenant under
heneficiacy's customary loan underwriting standnids
and all tunh lensqs will cuntihuu in full fnrcw
and nfcht Fnr net less than five 151 yenri there-

afte:; l:l that ueneticiary shall i;rat ne q\ven

 

 

 

 

 

 

 

satisfactory proof that such impiwjnw¢ncq nnvu h¢?ni
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ann ~y \¢il\ luz {»llli zw!srr>cvd, lriw: A's? t'hiar ! nl;

Z\e~: uxrupr 4, le Lhn lion ul thiw Uwul ll Fr~\
(dl thai in rhv Cv"nl $u#" nwn:¢ qhnli im in

Glflluivnl la z"wiuru ux rqbuil! cbw HJ\A luj{,,~

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45 ments, Tcu;tor or thc swann tenant under the sain
5 lease shall depnnit promptly with Bennficiary
6 funds whinh, together with the award proceeds, l
7 shall bn sufficient to restore and rebuild thn
8 said improvements; (nl that in cnn event Trustor
9 shall Fail within n reasonable time to restore
10' or rebuild the said lmprovem@nts. neua€iciary, at
ll it§ sole option, may restore or rebuild the said
12; improvement$ int or nn behalf of the Trustnc and
§ .
13§ for such purpose may do all nvcnssary ncrs; iii i
i` i
ldl that the excus$ of said award nwt nncnnsnny fur
15' completinq such rnstorntion shall be applied as
le hereinbefore provided as a credit upnn any portinn.
l?j as seltcted by any Bnnnficiary. of the indabted-
13§ ness secured thnrehy: (q) that the aq;rnqntn
9 f .
1 monthly minimum rental payable aEtcr such rustcca~
295 tion by Thrifty Druq Storc$, Inc., SprnusQ-Raitz
213 Co., Inc., United Gro:ern or any other indus tenant
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22; which UennFiviiry than deans tn be a credit tenant
m ‘ ' i
under Unnnficicry 5 customary loan underwritinq
Standards will not bn less than the nnqrnthn
.i
295 monthly minimum runtnl pnywhle by such tnnnnt;
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ghi immediately pfinr tn inn damdne u: carlin
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‘cerm of this lease, be prior to any lien or encumbrance created cl

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y ;;

(x) On Pagn_£@. subparagraph (e) cf Arciclc le, the

following sentence"is hereby added nn such subparagraph;
"Fnrcher, Landlord shall exccnce all docum@ncs

reasonably and customarily required by any lender cr lenders
actorney. or by the title company insuring any loan to verify
lender's priority position wich respect co the Fee inceres: in
the suhjecc propercy."

(y) On Page 23, Lin& 19, the first word of subparagraph
{f) is hereby déleted and che word "any" §nbsticuted in place
therenf,

(z) On Page 22 and ?3. ArCicle XITI is hereby deleted

 

and a new Arcicle X!II inserted in its place as Eollnws;
"ARTICLE Xlll

;e)zwf<l‘rv, _O.F L. I§LL@£<_L,§.»:§,§.

 

 

"Landlord hereby expressly covenants and agrees that ana

 

leasehold escace of Tenant hereby created and the lien 0§ any

deed of trust referred to in Article XII hereof shall. duriny the

imposed or causgdor suffered co be created or imposed. by
Landlord upon or against said demised premisas or any buildings
or asher improvements located shermani and chac Landlord will

nor c§eata, cause co be created or permit co remain. and will

__‘. ,,,,..._“..,

discharge promptly any lien or encumbrance prior to orxuwa

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paricy with said leasehold estate or any such need n crust. lf
band§u¥d creates or impnsns, or causes or nuffers co be created

or imnvsed, upon or against said demised premises ar said

 

 

 

building$ ar other improvemencz any lien or encumbrance prior in
mr nn a parity winn said leasehold escace 01 Any sand dzed of
».~~)» ru\u nunc lla)i. 1¥£1.{.’£111"£;‘, L)l` C<']!ISQ [() (,)(.‘ l'(_’lEélriE‘.§, -‘J`¢_}C§*. ll{}?'i Di`
encumbrance. Tenant or nny Truscae:da§clibcn in nrriclu XII

QY any beneficiary 05 such bend of Trnar may make any paymenx

cr rake any other nciinu necessary 10 dl$cla:gr ann \elease qn<n
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lien or encumbrance. and shall be enticlcd no reimbursement
From Landlord far néy expenses thefeby incurrud, cog@tnor wizh
inceresc thereon an cng highest rate permicced by law Frum the
date of incurring such expenses co cba date of reimbursemant,
ln the event oE failure of Landlord co so reimburse Tenant or
any suuh Beneficlary for said expenses, Tenant may credit the
amonnc of said expenses upon rental installments thereafter
payable hereunder. Morenver, any voluntary lien or encumbrance
created by Landlord shall expressly provide chas the same
shall expressly be subordina;ed to any deed 05 trust referred to
in Article Xll hereof which is not in existence on the dace
Such lien cr encumbrance is 50 created by Landlord."

(aa). On page 29, Line l}, and Lincs 23 and 24; and
on Page JG. Linns 22 and 23 and hines ll and 28; and nn
page 31. Lines 22 and 23; and en ?age 3&(5), Llnes 9 and lG;
and nn Page 35, Lines 15 and 15. the phrase ", z . =relaring to
purchase cr construction of improvem€n:s" is he:eby modified nn
read as follows:

"relacing co the pursnase, conscruction
or permanent financing 05 cna impvcvemencs)"

(bb) On Page 32, Lina ll, the phrase “, . , . Brnom
elean cundlci@n" is hec€by deleted and the following phrase is
h

hereby inserted in lieu cherenf: goad condition and

repair, nrdinavy wear and tear expecced.,..”
Execuned by :ne Landlnrds, LUCILhE F HQRGAN, in cna

City of Sa:rnmencn, State cf Californin, on this mw*;m“_dny of

',§m§c'§\, 197;', and by EL_IZASF:';‘H n wasn am Pof.l.'r‘ wasn i:~¢cn.vriii'

as Successnr Truscees 05 the HERB£RT REAH HERRILL TESTAMENTnRY
TRUSTS and bv Eii?ARRTH n UV!QH qnn Pnriv mnzcu unnr!wnlv
as Co~Trustees of ina LUCILL§ F. MGRCAN iRREVOCABLE LIVING TRUS?

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NHMBER THU. in the City n§ narrnmenrm, St¢te of Cnl fnrnia this

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cm this ____"z_*‘_";_m_'_ciay cf Mnrch, 1977.

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Marrill Trusts, and ¢s Co~Trusuee

of the LU(.ZH.!,S E`. MORGN"F Ir'rczvor.rar)l.c':
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Rea.n Mc+.x'rilt 'Frusts, and as a`.'n»'l‘z"\zs;cr.»¢\
of the LUCLLLE F. MORGNS !rr(.~v<)<~.a?)le
living 'I‘rust Nurnbr.‘,r Tw\'). I,nncilc)rci.

Tenants:

 

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MAN\' R.[/ mmszi, ’r¢_-n-nr.

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MARY R._ HAF.IASH, in the City ux` E`»n:;r-z:n¢")\¢». :¢1._\>,¢~ m' L'.‘nlz"<)rr\i.')

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l"uur{|) Addendum to Lease

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l_"OUR'l_`U _/_\l.)l`?i‘lNDUt\/l_'l`(.)ltlil_/_\_St‘_l

'l`his l"ourth Addendum to l.case (tliis “§`ott_ith__A_ddendtti_n") is made and entered into as
t)i`tlie _Q_§triay ol` tie e,ri'b_e_i;____v ‘_ , 2()()7, by and between (I & K MARKl.i'I`, lNC., an ()regon
corporation (by assignment from Raymt)nd l,. Nidiffer and M. lane Nidift"er J'l`WROS,
“'l`enant”) and ANDREA l.. SlLVt"IR-MERRIL|., as successor trustee of the l,UClL[,li l"`.
MORGAN lRl{l€V()C/\Bl,,li l,lVIN(i 'l`RUS'l` NUMBER TW(), as to an undivided 88.61%
interesi, and RlClI/\R.D WAl,TON MF,RRILL, a single man, as to an undivided l l.39% interest
(collectively “Landl_o_rg_l”).

Rii_C_I_T_/\LS

A. WH}}IREAS, Tenant and Landlord are parties to that certain I,ease dated as ol`
October 14, 197(), as amended by that certain Addendum to Lease dated October 14, 1976, that
certain Second Addendum to Lease dated October 14, 1976, that certain 'l`hird Addendum to
lease dated March 4, 1977 (hei'ein, as amended and as the same is hereby amended, the
"tl_e_as¢”).

B. WllEREAS, the 'l`enant and Landlord desire to amend the l,ease in certain
respects
($, Nt)W, ll-ll£ltl'.l'()l{l~,, in consideration cl the mutual covenants contained lierein,

and for other good and valuable consideration, the receipt and sufficiency ol` which is hereby
acknowledged, 'l`enant and Landlord hereby agree as follows:

l. Reeitals. The recitals set Forth above are true and correct and are hereby
incorporated in their entirety.

2. I_)_etiiiitieiis. Capitalized terms used, but not defined liereiti, shall have the same
meanings herein as given to them in the Lease.

3. Ame_ndnier_it t_t_) Lease. Ai'ticlc Xlll ol`thc Lease is hereby amended and restated
in its entirety as t`ollows:

“s&!lflfl_§l¢§tl\'l._l_”_l c LE/i.S”E!lQLD .l"lNA.l`l.C.lNC-`
Riglit to Grant Security interest

[n addition tt) any rights granted to ‘l`enant under Artiele Xll t)l` this l,ease relating
to construction and take oitt iinancing, 'l`enzint is hereby given the right to grant security
interests iii this Lease l`ur any purpose without the further consent or approval ol`
l.aiidlord, lint subject to the terms ol` this l.ease. 'l`lie granting t)l` any such security
interest may be accomplished by means ol` a security agreement eildenccd by the filing
tit`a U(‘.t.? l"inancing, Stateinent‘ and/or a recorded deed ottiust or iiit)rtgage “li ltiselioltl
Mt)rtgagc". ln no event shall any security interest be granted l`t)r tiny tertii which extends
beyond the expiration ol` this l.czise /\tiy such security interest slizill he subject to all ol'
the terms tititl conditions til`tlii>» l.ctise ttiid to the t'i_i_§lits and interests t\l l uiidlt)i'ti I`eiittitt
sli.ill protnpll_\' tti\t~ l ttiitlltiid ti iititleti notice t)l` the uratitiitp, til`aii; set‘iirit_\ interest in

tt~ itti-.l‘.' l

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this i.ease and a copy of thc recorded documents creating the security intercst. if`
l,andlord is required to review or sign any document related to any financing on behalf
of`, or for the benefit of`, 'l`cnunt, then 'l`enant shall pay i.andlord’s reasonable fecs,
including attorney t"ecs, for reviewing such documents lt`so requested, Landlord will use
good faith efforts to review, execute, and deliver any such document submitted to it
within twenty (2()) littsiness i)ays. Landlord shall not, however, be obligated to agree to
anything beyond what it has agreed to do and what is provided for iii this /\itieie XIil.

i{igiits of identified i.ienders

Tenant shall provide Landlord with written notice ofthe name and address of atty
lender not governed by Article Xil {whieh shall expressly be any lender not providing
construction financing or refinancing of construction financing l`or improvements on the
property governed by this Lease) and a copy of the security instrument entered into with
the lender. Once this information has been received by Landlord such lender shall be
considered to be an “Identificd Lender” entitled to the rights and protections ot` art
identified Lender as set forth in this Article XIil (and Artiele XXII shall not apply to any
identified [,ender), and the identified i..ender’s interest in this l.ease shall be an
“lrlentit`ied Lender’s Interest.” After receipt of this information, as long as such
security interest shall remain unsatisfied of reeord, or until written notice of satisfaction is
given by the holder thereof to Landlord. and as long as the identified l.ender has an office
which is located in the United States designated to accept service of any notice or other
service i)t`process and the Idcntif`ied i,ender has given Landlord written notice ofis office
address, the following provisions shall appiy:

(a) l\‘o 'i`ermiiiation

Except as caused by operation of law, or arises from the occurrence of a
Dcfault, there shall otherwise be no voluntary cancellatioii, termination, or surrender of
this Lease by 'l`enant, or acceptance of such voluntary cancellation, termination or
surrender by Landlord without, in each case, the prior consent, in writing, of the
identified liender.

(l)) Notice to [deiitifieti Lender

l,andlord, upon serving Tenant with any notice of (i) a violation i)l` this
l.ease or an Event of l)efault under this Leasc, or (ii) the termination ol this l.ease, shall
also serve a copy of such notice upon each identified l,endcr. Altliough Landlord shall
have no liability for failure to give any notice described above to an ldentitied l.ender, no
such notice to Tenant shall he deemed effectively given until written notice has also been
given to lacli identified l,enth:i' to tlie last address l`or notices given to landlord by such
identified l.eiidei'. '[`hc identified l.et‘.der shall submit any change ol` address to landlord
in thc manner prescribed for giving notices found at /\rticle XV

(c) Riglit to (.‘iire

llpoti t|it' ocrtiii'ciicc of iiii_\ violation iii this l.c.tsc t`tii \thicli l.iiiti'oitl
wishes fo declare 'i l)cl'tuill, il iiotic<l o|`siit~h !)t~l`;titlt .tiiil a right to ciirc is rt t\itiici| to lit\

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iiivcn, each identified I,ender shall have the right to curc, or cause to he cured, the
violation or l`)et`ault, and landlord shall accept such performance by such ldeiititied
l.endcr as if the same had been done by Tenant. liach notice of a l)ct`anlt given by
Landlord shall specify the nature ot` the violation and, it" such violation relates to the
payment of money, shall state the amounts claimed to be past due. Nothing herein shall
require any Identified l,ender to cure atty l)et`ault. No such cure shall constitute an
assumption of any liability by such ldentified l.endei' (unless the identified [,cndcr
assumes this l ,ease or enters into a new lease with l.andlord), nor prejudice the right of
such identified I.endcr and/or Tenant to later contest or continue to contest the validity of
the claim of the Def`ault. 'l`he ldcntified Lender shall have the same period of time given
to Tenant to cure or commence cure of any violation, as set fortii in Article XXll, plus an
additional thirty (30) days. If the Identified l.,ender must first obtain possession in order
to cure, and is using its diligent efforts to obtain possession as quickly as possible, then
the commencement of the time frame for the ldentif`ied Lender’s ciirc period will be
delayed until such possession is obtained Notwithstanding the foregoing, in the case of a
iiazardous Substance Release which, in Landlord’s judgment, is of a serious nature that
requires immediate aetion, then the identified l,eiider will be so notified, and if the
ldcntified l,cndei' fails to take immediate appropriate action, Landlord may take such
action as it deems appropriate subject to reimbursement by the identified l.ender,
pursuant to subsection (d) of Article Xlll. iixcept for the additional time to ctire
referenced above, an ldcntified lender shall have no greater rights to cure than those
afforded to 't`enant under Artiele XXIl. in the event this Lease is terminated and the
identified Lender (or any assignee pursuant to the exercise of any remedy of the
identified l.ender) has not assumed this Lease prior to tertninatioti, then as long as the
identified l,ender, or the identified I,ender’s approved assignee pursuant to subsection (k)
of Article XIII, cures all l)efaults (except those referenced in subsection (e) ot' Article
Xlll) and enters into a new lease with Landlord within the above described additional
thirty (30) day cure period, the provisions of` this Article Xlll shall survive termination of
this l,ease.

(d) Pei'mancnt Assignment of Lease or New Lease Agrcement

In the event of` termination or threatened termination of this l.ease due to a
l)efault, Landlord will, at the request ofthe ldentif`icd l,ender, (i) ifthis l.ease is no_t then
tcrniinated, allow assignment of this l,casc to the ldentitied l.cnder or any purehaser,
transferee or assignee having an interest pursuant to the exercise of any remedy of the
ldentif`ied I,ender, including but not limited to judicial proceedings or (ii) if this l..,eiisc
has been teriiiiiiatcd, enter into a new lease with the identified l.ender, or purchaser,
transferee or assignee on the same terms and provisions contained herein for thtl
remainder ofthe l.ease 'I`crm; but in either instance, effective as ol`thc date ol`termination
of l`enant’s rights under this l.case, such assignment or new lease Wi|l only be granted to
the identified l.cnder (or purchaser. transferee or assignec) il all ot the following
conditions nrc first met by the identified l.cnder:

ti) 'lhc ldcntiticd l.cudci shall nial\c a written request to
landlord to assume thi~. l ease prior to its termination otto enter into a new lease i\ithin
thc st‘<tv (oil) dui i'inc period ilcsi‘iihcd in subsection titttiiit ot` this .-'\i'tii‘li.‘ .\ltl |hil

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date of`termimition will bc set forth in thc notice of tcnnination which will bc given by
landlord to the identified i.endcr at least thirty (3()) days in advance oi` the termination
datc. Such written request must be accompanied by payment to landlord of all amounts

then due to i,andlord under this l.ease, which amounts due shall also be specified with
particularity in the notice of termination;

(ii) 'l`hc identified l,cndcr shall also reimburse landlord for
any out-of~pocket expenses, including reasonable attorney fees and eosts, which Landlord
shall have incurred by reason of "i`enant’s i)ef`ault, which amounts shall also be specified
with particularity in the notice oi`termination; and

(iii) 'l`hc identified ii.ender shall promptly cure all of 'lenant’s
i)efauits under this i,ease of which the identified i,ender has received notice pursuant to
subsection (b) of Articlc XiIi (other than status defaults described in subsection (e) of
Article Xili) or if` a Defauit is of` such a nature that it cannot be completely cured within
the cure period specified in subsection (c) of Article Xill, shall begin correction of the
l.)ci`ault within such cure period and, tltercaf`ter, proceed in good faith and with due
diligence to effect the cure as soon as reasonably practical.

(iv) Any purchaser, transferee or assignee shall meet the
qualifications set forth in Article Xi(b)(l )(_aa) and (bb).

(c) l)ei`auits that identified l,ender is Not Required to Cure

Nothing herein contained shall require thc identified l.endcr to cure a
i)el`ault which occurred by virtue of 'i`enant’s insc)lvcucy; provided, howeverl that as a
condition of assumption of this Lease or entry into a new lease, the identified l.cnder
must first compensate Landlord for all out_of-pocket losses, damages expenscs, and costs
incurred by Landlord as a result of 'i`enant`s insolvency, and must otherwise comply with
this Articie Xiil. An identified bender shall have the right to intervene in any mediation,
arbitration, or litigation between Landlord and Tenant that potentially affects the
identified Lender’s rights Or the value of the security field by the identified i,ender.

(t) l.imitation on l,ial)ility

No liability for payment or performance ol` any oi` 'l`enant’s obligations
shall attach to, or be imposed upon, any identified l.cnder who does not assume this
l.easc or enter into a new lease and` in the case of a new leasc, only to the extent
expressly set forth thcrcin,

(g) Rights of identified bender i,'pun Assumption of this i.,casc

tlpon assumption of` this l.ease or entry into a new lease after the
identified i,cnder has cured or commenced cure oi`:il| defaults and icnulmrscd l.an<llmd
for all i)i`it.s ont-ol`-pocl<et costs .ind damages as outlined in subsection td) ut /\rtn'.lc .\'ll|_
the identified lender shall lia\e .\ll \il` the ripht and obligations of Irnant under this
l i_*tt:.t.‘t

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(h) ldentil'led i..cndcr’s lCStr)ppel (,`ertificate l{cquest

Landlord1 within thirty (30) days alter renttcst, in writing, by 'l`enant or
any identified Lender, shall i`urnish a written statement, duly aeknowiedged, Stating that
this l.cuse is in full force and effect and unamended, or if there are any amendrnents,
specifying the same; that there arc no violations or i")vents of Default under this i,ease by
'i`enant that are known to l.andiorcl. or if there are any known violations or livents of
l)et`anlt, specifying the same

(i) Consent to Amcndmcnts

Neither this l.ease, nor any of the terms hereof may be amended
rnoclil'rcd, changed, or canceled without the prior written consent of the identified l..ender,
which consent shall not be withheld or delayed unreasonably

(i) Right to Contcst I’ayments

[f the Identil`red l..ender makes any payment to Landlord pursuant to
i.undlord`s wrongful, irnproper, or mistaken notice or dernanri, it shall be entitled to the
return of any such payrnent, or portion thereof

(k) For'eclosure or 'l`ransfer in Lieu of lt`orec|osure

No further consent of Landlord shall be required i`or thc transfer ot`
i`enant’s interest in this l,,ease to an identified i,ender resulting from the foreclosure of an
identified l.ender’s Interest or a negotiated transfer to an Identii`red Lendcr in lieu ol`
foreclosure

(l) lnsurance Coverage

"l`hc Identil‘ied l,ender shall be named as an additional insured on all tire
and other hazard insurance coverage carried by 'l`enant and no change in any such
policies shall be permitted without the prior written consent of the ldentiiied l,cndcr`
which consent shall not be withheld or delayed unreasonably Any proceeds from any
hazard loss Shall be used first, to pay Landlord any unpaid amounts due under this i.ease;
second, for the reconstruction of the improvements on the l’rernises; third, if the i.ease is
terminated, for the repayment oi` interest and then principal due and owing under the
i.ensehoid blortgage. and the remaining balance to bc paid to l.undiord."

4. i{aniii`l_cations, i‘,xcept as specifically herein amended, all terros, provisions
conditions and exhibits contained in the i,eusc are hereby eoni`rrntcr_l, ratified and restated and
shall remain unmodified and in i`ull force and ei`i`ect. in the event that any provision ol`this
i"onrth Addendum shall conllict with the terrns, provisions, r:ornii’.ions, .rnri exhibits oi`tlnl |.r:nsr~,
the tcrnrs\ provisions conditir.\:ts and exhibits oi`thi\r i`orn'lh ."\dde ‘.ri\nn »h.t|l govern and control

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5. (ioverning l,nvv. 'l`his l"ourth Addendum shall hca contract made undcr,
governed l)y and construed in accordance With, the terms ol`the laws ol`the State ol`t'.`alil`ornia,
without giving ct`i`cct to its conllict ol`laws principles

(). g`,fc_)ur_r_t_erpar_t§. 'l`his l\`ourth Addendum may he executed in any number ol`
counterparts and by each ol" the undersigned on separate counterparts, and each such counterpart
shall be deemed to be an original, hut all such counterparts put together shall constitute hut one
and the same Fourth Addendum.

7. St_lcces$_c_)rs__and Assigns. ’l`his l"ourth Addendum shall be binding upon and shall
inure to the bcnelit of the parties hereto and their respective successors and assigns

8. Cap_t_i_ons. Captions used in this Fourth Addendum are provided i`or convenience

and reference only and should not housed in construing this l~"ourth Addendum.

[Signatures follow]

|"~ll‘\"'l`»` (\

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|N Wl'l`Nl",SH Wiilii<ii()l",|
<)l`thc date first al)t)vc written

.andit)rd and ll`cnant have executed this l"ourlh Addendum as

l,/\Nl)l.(lltl):

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\uccessor trustee oi` the l uciliel , lr\/lorgan
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C`. & K h'l/\|tKl€'l`S, th_`..
an ()rcgon corporation
d/h/a Ray`s Scnlry Marl\'et

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I"il`t|\ Addendum to Lease

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this 1111 11 1/~\11:1@111111111 to Lease tth.is "'t"`it`r.h /'\111endn1ent"l is made and entered into as oi`
/-\ugu.st o 2011 hut to take eii?iet on Septem‘oer 301 2014 (_"Etiecti\`e 1.`)1.ue“), try and between (.` B;
ll 1112\121<1?. 1 th`" an Orevon corporation (b;, assignment from RAYMOND 11, Nlt")il"l"iii`<
and ’\/i jr\NE Nli`)i 1`1"1`13 JTWRGS. "'i`enant") and ANDREA ’L,. Sll1Vi§lR~1\/1ERR1LI..1 as
311 ‘cessor trustee of the LUC`111LE. F, MORGAN l,iLREVO(.`ABLE 111V1NC1 TRUST
:\iUi\/iBER '/1¢1\1\_'© sto air undivided 88.61% interesi_. and RlCHARD \1‘1"/-\1..`1`0.\1 MHRI°\[LL. a
singlemann astoan undi\.irlecii .32)‘3/1,uiterest{coilectn<;iv'Landiori't )

\1\1"1~11?1?2121-'\§1 fe mint and Iandtord are parr iit es to that cei ain 11 ease dated as of October 14,
1976 as amended 111 that ceitain Addendum to l e2 1311 dated ()ctoher 1119761 that certain Second
.A‘tdciendum to Lease dated Gcr.ober 141 1976. tzat ertain Third Adder dam to Lease dated i\/l'arch
31. 1977. and that certain Fou:i’n Addendtu'n to Leased ted Gctobe 1'.9 2007 therein as amended and
as the same is hereb} americied. the “I.ease"),

\I’I~IEREAS the real propert\‘ which cum ’~ entl\v is the subject of the Lease consists ot`aii
care ‘ esi Sliot'»~n on thes Surte} attached as Exhihit r\ including ga weis A and 13 as \.\'aeil as 1311 1e
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to the City oi`i\='it. Shasta; and

WHEREA& Tenant previously agreed with Landlord to release the yellow1 and pink
highlighted areas of Exhi`oit 211 te ailo'ti landlord to increase the areas ot` Parcel C. D and E hj.'
boundary line adjustments. as shown on fjxhihh 1'~`1; and

‘v`v" £R§AS, the green highlighted lO~i`oot strip is current`t} a part oi` Parc~c Sand the mean
highlighted quadrilatetai area is eurrenti;\ a part ot "a“ !reel r`\ and the parties desire h\ Lhotuiclir;. line
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Par'cci 13; and

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other good and vaiual)le cons rec rl' rat:o;r t 1e re eint and s111`rtc1:111 1 ot xxit§c

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e;it 11 ihs 151311 1§- z set 11111§1 al 1112 21 11.» true and correct and are herein1 incorporated

Case 2:16-cV-01769-.]AI\/|-C|\/|K Document 21 Filed 05/24/17 Page 114 of 123

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Case 2

 

 

 

 

 

 

 

 

 

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lake Street as shown 011 6001<11 01 Par':ei 1\/-:1'1'1,5 pa§; 581)1 15 corded
1"0\'51111‘51 4, 19§2 166 011`1 0 0- 110 5151~111011 { 01111*1§. 1151:01651;111511051\.`01111 673 112"
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17` O§§" Esst, 11 6131::»1110:€50.00 1551 10 a point 1.1.‘1 1110 30111`11€11 line ot` 35161551<5 Streel;
1_!*15:1€5 So ’1 22° 17` 08"’ `Esst, s distance 01` 1961 feet 10 1115 TRU§Z "r‘UI`N f OP'
36 11"\1'\1_\6 thence Nost`n 86°18"‘3“ East a dista:ce of 142 ... 55 1`5566.56 N1;1 ss
3°41`14"“1"55L a distance 0£5.37 1556 111511051 1\10161 86 .’°IS 46" East, a 61315:1050£1..8
1556 theme South 3°5313"§25110,:113‘3~4505 ot` 10 41 1551;11150"‘5801111182°24’)6 Bast,_a
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